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METRO

De Blasio blasted for ‘fudging’ Rikers
assault numbers

By Tom Wilson and Yoav Gonen December 5, 2015 | 2:15am

 

 

 

Rikers Island
AP

Mayor dle Blasio on Friday touted an 11 percent drop in serious assaults against Rikers Island staffers — but was publicly contradicted ata

ceremony in The Bronx by the head of the correction officers’ union.

Speaking to a graduating class of nearly 600 correction officers, de Blasio said reforms of the city’s trouble-plagued jails system had
reduced serious inmate attacks on staffers to 69 incidents in the 12 months through Nov. 30 — down from 77 the year prior

“We know the challenges of this job, and this is why we are deploying every tool we have to fulfill our obligation to protect New York's

Boldest,” Hizzoner said.

But Correction Officers’ Benevolent Association President Norman Seabrook took the microphone shortly afterward and blasted the mayor
— both for leaving the ceremony early and also for fucging the figures.

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“| have a problem with the fact that he didn’t even say ‘| have to leave, would you excuse me for a
minute.’ How dare you!” said Seabrook. “The same way that you want respect you have to give
respect.”

 

Bill de Blasio at the Department of
Corrections graduation
Natan Dvir

His union says serious injuries to staffers by inmates are up nearly 30 percent through November compared to last year — from 216 to 280.

“| heard the mayor say violence is down 11 percent,” said Seabrook. “You're entitled to your own opinion, but you're not entitled to your own
facts.”

A review of the city’s own statistics for the first four months of the current fiscal year — covering July through October — shows a 35 percent
increase in serious assaults against jail staffers by inmates, compared to the same term last year.

City Hall said those figures are wrong, even though they’re produced by the city, and insisted the data shows a 19 percent drop.

Meanwhile, another attack took place on Rikers Friday night when an officer was assaulted by an inmate, who allegedly is a gang member,
sources said.

 

Department of Corrections graduates
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